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                MONTANA THIRD JUDICIAL DISTRICT COURT
                        DEER LODGE COUNTY

TYLER GATES,
                                              CAUSE NO . .     DV- 15-8~lf
                 Plaintiff,

        v.
                                                             COMPLAINT
FEDEX FREIGHT, INC.,

                 Defendant,


        COMES NOW Tyler Gates ("Plaintiff'), through counsel, and for his

complaint against FedEx Freight, Inc., alleges as follows:

                      PARTIES, JURISDICTION, AND VENUE

1. Plaintiff Tyler Gates is a resident of Deer Lodge County, Montana.

2. Defendant FedEx Freight is an Arkansas corporation with a registered agent

    located in Missoula County, Montana.

3. Jurisdiction is proper in this Court.

4. Venue is also proper in Deer Lodge County.




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                                  BACKGROUND

5. Tyler Gates began working for FedEx Freight in November 2005.

6. Gates went through the FedEx driver training program, and became a driver in

   September 2011 for the company.

7. On or about September 2, 2014, Tyler was driving out of the Butte, Montana

   dock.

8. At that time, the FedEx yard had more equipment than usual because

   construction was occurring.

9. There were trailers also parked on the southwest part of the FedEx dock. Since

   April, Gates and other drivers had asked FedEx that the trailers not be parked

    there because it made it more difficult to pull out of the yard.

10. Because of the parked trailers and the construction, Gates had to make a sharp

    turn out of the FedEx facility.

11. While pulling out, Gates heard a noise.

12. Gates stopped his vehicle, and had it checked out before driving his route.

13. A review of the vehicle revealed that there was a plate break at the weld.

14. On information and belief, FedEx was having problems with these weld's

    breaking.

 15. On information and belief, the weld was defective and/ or not properly installed.

 16. The kingpin on the truck was not bent.

 17. The frame on the gear was not bent.




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18. There were no marks on either the trailer or the cab after Gates heard the weld

    break.

19. On or about September 10, 2014, Gates refused to drive a truck because the axle

   was not all the way back.

20. Both Gates' supervisor, April, and the Manager, Greg, told Gates to pull the

    trailer anyway.

21. Despite these orders from his superiors, Gates again refused.

22. A safety inspector ultimately sided with Gates, stating that the axel needed to be

   pushed all the way back.

23. Two days later, on or about September 12, 2014, Gates received notice that he

   was suspended as a driver. He was provided no reason at that time why the
          .             .
   suspension was occurring.

24. Gates never received any notice in writing as to why he was being suspended.

25. FedEx orally informed Gates he was suspended because he had jackknifed his

   truck on September 2, 2014.

26. But between September 2 and 10, no management had inquired with Gates about

   the September 2 incident, nor expressed any concerns about his driving.

27. Instead, management waited 10 days before it suspended Gates for the September

   2 incident.

28. It also only suspended Gates after he refused to drive the truck on September 10,

   2014.

29. Gates had also not jackknifed the truck on September 2, 2014.




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    30. Gates was ultimately discharged from his driver position.

    31. Gates exhausted his internal remedies for this discharge.

                                    COUNT I
                               WRONGFUL DISCHARGE

    32. Gates re-alleges all the foregoing paragraphs, and incorporates them herein.

    33. FedEx terminated Gates without good cause. While it claimed that it terminated

       Tyler because he jackknifed his truck, in reality, it terminated Gates because he

       refused to drive an unsafe trailer on September 10. Indeed, there was no evidence

       that Tyler had in fact jackknifed his truck, contrary to FedEx's claims.

    34. As such, FedEx is liable for damages under Montana's Wrongful Discharge from

       Employment Act.

                                 PRAYER FOR RELIEF

           WHEREFORE, the plaintiffs pray as follows:

    1. Lost wages; and

    .2. Any other relief the Court deems just and proper.

                                      JURY DEMAND

                               Plaintiff requests a trial by jury.


           DATED    thi~day of August 2015.
                                                                  , WILSON & DEOLA



                                By:               ~




                                                Scott Peterson
                                                Attornry far Plaintiff



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